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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA CASE No, 96-379~CR-HIGHSMITH

Vv.
GOVERNMENT'S LIST OF WITNESSES

(RE: TRIAL SCHEDULED FOR
TUESDAY - JULY 16, 1996)

LAZARO LOPEZ

 

The United States, by and through the undersigned Assistant
United States Attorney, hereby submits a list ow possible
witnesses with respect to the aforementioned case:

1. ROBERT SALADRIGAS;

2. ORLANDO QUINTANA;

3. Special Agent JOSEPH JEZIORSKI;

4. Special Agent GIRALDO BERMUDEZ;

5. Special Agent NESTOR DUARTE;

6. DEA Chemist 3 and

7. DEA Chemist Peter Echevarria.

WILLIAM A. KEEFER
UNITED STATES ATTORNEY

at, |) @—

EDWARD L. ALLEN

ASSISTANT UNITED STATES ATTORNEY
DISTRICT COURT No. A5500072

OFFICE OF THE UNITED STATES ATTORNEY

! QL

 

MIAMI, FLORIDA 33132

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